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UNITED STATES BANKRUPTCY COURT

 

 

DISTRICT OF COLORADO
In re: )
) Case No. ll-34lZl-MER
ROTH, JOSEPH ANTHONY )
EIN/SSN: Xxx-Xx-37 05 ) Chapter 7
)
Debtor(s) )
)
TASHEENA POLANCO, )
)
Plaintiff, )
)
v. )
) Adv. Proc. No. lZ-lOlO-MER
JOSEPH ANTHONY ROTH, )
)
Defendant. )
)

 

PLAINTIFF’S MOTION FOR ABSTENTION

 

Plaintiff Tasheena Polanco (“Plaintiff” or “Polanco”), by and through her attorneys, the
Traylor Law Group, LLC, and pursuant to 28 U.S.C. § l334(c), hereby submits this Motion for
Abstention, and in support thereof states the following:

INTRODUCTION

This case is an adversary proceeding to determine the dischargeability of Defendant
Joseph Roth’s (“Defendant” or “Roth”) contingent, unliquidated debt to Ms. Polanco. Before that
ultimate issue can be resolved, however, there must be a determination of the validity and extent
of the claims underlying the debt. Simply stated, the most efficient means of resolving these
issues is for this Court to abstain from hearing this action and allow Ms. Polanco’s underlying
claims to be tried in state court.

First, because Ms. Polanco’s claims against Mr. Roth involve personal injury tort claims,
the case will have to be transferred out of bankruptcy court pursuant to 28 U.S.C. § 157(b)(5).
However, rather than allowing the case to be transferred to federal district court, this Court may
elect to exercise discretionary abstention and send the case to trial in state court. As discussed
below, this course of action would allow this matter to be set for trial immediately, while
protecting Ms. Polanco’s right to a jury trial. Accordingly, Ms. Polanco respectfully requests that
this Court abstain from hearing her underlying claims against Mr. Roth, thereby allowing Ms.
Polanco to proceed with her case in state court.

 

 

 

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BRIEF FACTUAL BACKGROUND

Ms. Polanco began working for Mr. Roth at his auto shop, Roth’s Auto, in May 2009.
Her work environment was immediately and consistently permeated with egregious sexual
harassment and inappropriate physical contact. (See Compl. 11 l4-26. ) For example, Roth
touched Ms. Polanco’s breast and brushed his hand across her crotch, then smelled his hand and
stated, “Thanks.” Mr. Roth frequently told explicit stories about his own sexual behavior,
including visiting strip clubs and “whore houses,” paying women for sex, having sex in the auto
repair shop, and trading car repair services for sexual favors. He frequently remarked about Ms.
Polanco’s breasts and requested that she give him massages on numerous occasions. On one
occasion, Mr. Roth instructed her to clean a glass window, and then licked window across from
her breasts while she was doing so. After refusing Mr. Roth’s’s advances, Ms. Polanco was
terminated by Mr. Roth on June 8, 2009_only two days after refusing Mr. Roth’s most recent
request for a massage from Ms. Polanco. These events resulted in severe emotional damages to
Ms. Polanco.

On May 12, 2010, Ms. Polanco filed a civil action against Mr. Roth in Adams County
District Court, Case No. 2010CV832 (“the State Court Action”). Her claims included battery,
intrusion, sexual harassment and discrimination, and wrongful termination in violation of public
policy. Pursuant to the State Court Action, Ms. Polanco took Mr. Roth’s deposition. During the
deposition, Mr. Roth admitted to the majority of the factual allegations made by Ms. Polanco. He
attempted to justify his reprehensible behavior by claiming that Ms. Polanco “invited” his
comments because of the Way she dressed. Mr. Roth went on to say that some women deserve to
be raped if they dress a certain way. Mr. Roth also indicated that he would file for bankruptcy
before allowing the action to proceed to trial.

True to his promise, Mr. Roth filed his Chapter 7 Petition on October 12, 2011, only
weeks before the scheduled trial date in the State Court Action. Ms. Polanco filed her Complaint
Objecting to Dischargeability of Indebtedness (“Complaint”) on January 4, 20l2. Only limited
discovery has been conducted in the matter to date.

ARGUMENT
A. 28 U.S.C. § 15 7(b)(5) requires transfer of Ms. Polanco’s claims.

28 U.S.C. § 157(b)(5) provides that “[t]he district court shall order that personal injury
tort and wrongful death claims shall be tried in the district court in which the bankruptcy case is
pending, or in the district court in the district in which the claim arose, as determined by the
district court in which the bankruptcy case is pending.” In addition, “liquidation or estimation of
contingent or unliquidated personal injury tort or wrongful death claims against the estate for
purposes of distribution” is specifically excluded from the list of core proceedings defined in 28
U.S.C. § 157(b)(2). Theref`ore, because Ms. Polanco’s claims include personal injury tort claims,
these statutes mandate that they may not be tried in the bankruptcy court.

Personal injury claims are also specifically excepted from the doctrine of mandatory
abstention. 28 U.S.C. 157(b)(4). However, while mandatory abstention cannot be applied to

 

 

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these claims, numerous courts have held that a bankruptcy court may allow such claims to
proceed in state court based on the doctrine of permissive abstention, rather than transferring
those claims to district court. See In re White Motor Credit, 761 F.2d 270 (6th Cir. 1996); In re
Pan American Corp., 950 F.2d 839 (2d. Cir. 1991); A.H. Robins Co., Inc. v. Piccinin, 788 F.2d
994 (4th Cir. 1986). Accordingly, rather than allowing Ms. Polanco’s claims to be transferred to
district court, this Court may properly elect to abstain from proceeding on Ms. Polanco’s
underlying claims.

B. T his Court should exercise permissive abstention pursuant to 28 U.S.C. §
133(c)(1).

Under 28 U.S.C. § 1334(0)(1), a bankruptcy court may abstain from hearing a matter
when doing so would be “in the interest of justice, or in the interest of comity with state courts or
respect for State law.” This doctrine is known as “permissive” or “discretionary” abstention. In
determining whether to exercise discretion to abstain, bankruptcy courts consider a number of
non-determinative factors, including the following:

(1) the effect or lack thereof on the efficient administration of the estate if a Court
recommends abstention, (2) the extent to which state law issues predominate over
bankruptcy issues, (3) the difficulty or unsettled nature of the applicable law, (4)
the presence of a related proceeding commenced in state court or other
nonbankruptcy court, (5) the jurisdictional basis, if any, other than 28 U.S.C. §
1334, (6) the degree of relatedness or remoteness of the proceeding to the main
bankruptcy case, (7) the substance rather than form of an asserted “core”
proceeding, (8) the feasibility of severing state law claims from core bankruptcy
matters to allow judgments to be entered in state court with enforcement left to
the bankruptcy court, (9) the burden of [the bankruptcy court's] docket, (10) the
likelihood that the commencement of the proceeding in bankruptcy court involves
forum shopping by one of the parties, (11) the existence of a right to a jury trial,
and (12) the presence in the proceeding of nondebtor parties.

In re Schempp Real Estate, LLC, 303 B.R. 866, 876 (Bankr. D. Colo. 2003);1n re
Mattson, 448 B.R. 540, 549 (Bankr. D. Kan. 2011); In re Commercial Financial Services,
Inc., 251 B.R. 414, 429 (Bankr. N.D. Okla. 2000). As discussed below, these factors
weigh heavily in favor of abstention in this matter.

i. Ejj"ect on the Esz`cient Aa'ministration of the Estate

Abstention would have little effect on the efficient administration of Mr. Roth’s
bankruptcy estate. In fact, the action would likely be resolved more quickly in state court. Prior
to Mr. Roth’s filing of the Chapter 7 Petition, discovery had concluded, and the State Court
Action was only weeks away from trial. If this Court abstains and allows this matter to proceed
in state court, the case could be set for trial immediately, which would allow for a swift
determination of the validity of Ms. Polanco’s claims against Mr. Roth and the amount of those
claims. On the other hand, if this Court does not abstain, Ms. Polanco’s personal injury claims
would have to be transferred to the district court, as discussed above. Therefore, this factor

 

 

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resoundingly favors abstention, and this Court should abstain B‘om hearing Ms. Polanco’s
claims.

ii. Extent to which State Law Issues Predominate

There is no question that state law issues predominate in this matter. Ms. Polanco’s State
Court Action asserts only personal injury and sexual harassment claims based entirely on state
law. No federal claims have been asserted by Ms. Polanco. Therefore, this factor weighs in favor
of abstention,

iii. Difficully or Unsettled Nature of the Applicable Law

Ms. Polanco’s claims consist of state law personal injury and sexual harassment claims
against Mr. Roth, and at this time, do not turn on any difficult or unsettled questions of state law.
Therefore, this factor, standing alone, does not necessitate abstention.

iv. Presence of a Relatea' Proceeding Commenced in State Court

As stated above, Ms. Polanco’s claims have already been asserted in state court, and that
action was only weeks away from trial when Mr. Roth’s petition was filed. That matter is
currently stayed pending the resolution of the bankruptcy. The presence of the State Court
Action that can immediately be set for trial strongly supports abstention by this Court.

v. Jurl`sdictl`onal Basis Other T han 28 U.S.C. § 1334

Ms. Polanco’s State Court Action could not have been filed in federal court absent the
filing of the bankruptcy petition. She has asserted no federal claims, and there is no diversity of
citizenship among the parties. Therefore, there is no jurisdictional basis for adjudication of this
matter by a bankruptcy court other than 28 U.S.C. § 1334, and this Court should abstain.

vi. Degree of Relatea'ness or Remoteness of the Proceeding to the Mal`n
Bankruptcy Case

The adjudication of Ms. Polanco’s claims against Mr. Roth is certainly related to the
main bankruptcy case, in that it is a necessary step in determining the dischargeability of Mr.
Roth’s debt. However, where a matter is essentially a two-party dispute, abstention is
appropriate. Schempp, 303 B.R. at 877 (citing In re Shady Grove Tech. Ctr. Assoc. L.P., 216
B.R. 386, 391 (Bankr. D. Md. 1998)) (“‘Generally, bankruptcy is not favored as the means for
resolving . . . a two-party dispute.”’). Similar to Schempp, this matter is a two-party dispute, and
therefore, this factor favors abstention.

vii. Substance Rather T han Form of an Asserted Core Proceeding
Pursuant to 28 U.S.C. § 157(b)(2)(1), Ms. Polanco’s claim objecting to the

dischargeability of Mr. Roth’s debt to her is a core proceeding However, any resolution of that
issue is entirely contingent upon adjudication of her state law claims, which are non-core. The

 

 

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dischargeability analysis will turn on the facts giving rise to those claims. Therefore, the
substance of this matter is Ms. Polanco’s non-core claims, and the Court should allow those
matters to be determined in state court.

viii. Feasibl`ll'ly ofSeverl'ng State Law Claims from Core Bankruptcy Matters

In this case, it is entirely feasible to sever Ms. Polanco’s state law claims from the issue
of dischargeability, Her personal injury and sexual harassment claims could be tried quickly and
efficiently in the State Court Action, as discovery has already concluded and the matter could be
immediately set for trial. In fact, as discussed above, her tort claims will have to be transferred
out of bankruptcy court anyway. If the matter were transferred to federal district court, however,
those claims could not be tried without additional, redundant discovery. Allowing Ms. Polanco’s
claims to proceed in state court is the most efficient course of action in this matter.

ix. Burden on the Bankruptcy Court ’s Docket

Adjudication of Ms. Polanco’s claims by the bankruptcy court would certainly impose
some small burden on the bankruptcy court’s docket. To the extent those claims could be tried
more quickly and efficiently in state court, that burden is unnecessary. In fact, if Ms. Polanco
were to lose at trial in state court, there would be no need for a bankruptcy court to address the
issue of dischargeability, thus reducing the burden on this Court’s docket. Therefore, this factor
weighs in favor of abstention.

x. Likelihooa' of F orum Shopping

Although Mr. Roth was clear during his deposition that he would file for bankruptcy
before allowing the matter to be tried to avoid having to defend himself from Ms. Polanco’s
claims, he did not gain any advantage with respect to Ms. Polanco’s claims by moving the action
to bankruptcy court. Accordingly, it does not appear that this matter involves forum shopping.

xi. Existence of a Right to a Jury Trial

Ms. Polanco has a right to a jury trial on her state law claims, and the State Court Action
was docketed as a jury case at the time the bankruptcy petition was filed. Ms. Polanco has not
consented to a jury trial in the bankruptcy court, nor does she intend to do so. Therefore, this
factor strongly favors abstention, as the matter would have to be transferred in order to reach a
final resolution of her claims, and the state court would provide a more efficient forum for a jury
trial.

xii. Presence in the Proceeding of Non-Debtor Parties

This proceeding involves the debtor and one non-debtor party_Ms. Polanco. Therefore,
similar to Schempp, this factor is relatively insignificant

 

 

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CONCLUSION

At least nine of the twelve factors strongly favor abstention in this matter. Ms. Polanco’s
claims against Mr. Roth are based solely on state law, and those claims can be efficiently
resolved in the State Court Action, which is ready to be set for trial. Because her personal injury
tort claims cannot be tried by the bankruptcy court pursuant to 28 U.S.C. § 157(b)(5), the matter
will have to be transferred out of the bankruptcy court prior to a final resolution. Those claims
would proceed much more quickly and efficiently in state court than in a federal district court.
Therefore, in the interests of justice, this Court should abstain from adjudicating Ms. Polanco’s
claims, and allow the State Court Action to proceed.

WHEREFORE, Plaintiff respectfully requests that this Court enter an Order abstaining
from the hearing and determination of Plaintiff’s claims against Defendant pursuant to 28 U.S.C.
§ 1334(c)(1), and for such other relief as the Court deems just and proper.

DATED this 29th day of August, 2012.
Respectfully submitted,

TRAYLoR LAW GRoUP, LLC

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing PLAINTIFF’S MOTION
FOR ABSTENTION was served on this 29th day of August, 2012, via United States Mail
addressed to the following:

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